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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



UNITED STATES OF AMERICA,

                          Plaintiff,

                  vs.                                            CASE NO.: 2:13-cr-289 (03)
                                                                 JUDGE SMITH
                                                                 MAGISTRATE JUDGE DEAVERS
ROBERT L. SIMMONS,

                          Defendant.


                                                ORDER

           On February 18, 2014, the Magistrate Judge issued a Report and Recommendation pursuant

to 28 U.S.C. § 636(b)(1), recommending that the Court accept Defendant’s guilty plea to the lesser-

included offense in Count One of the Indictment charging him with conspiracy to possess with intent

to distribute heroin, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C) and § 846.

           Defendant, represented by counsel, waived his right to appear on the matter before a District

Judge. The Magistrate Judge conducted the colloquy required by Rule 11 of the Federal Rules of

Criminal Procedure. Defendant’s plea was knowing, voluntary, free from coercion, and had a basis

in fact.

           Defendant was specifically informed of his right to contest the Report and Recommendation

by filing any objections within 14 days of the issuance of the Report and Recommendation pursuant

to 28 U.S.C. §636(b)(1)(B) and Rule 72(b) of the Federal Rules of Civil Procedure. Defendant did

not file any objections.
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       Accordingly, the Court ADOPTS the Report and Recommendation and ACCEPTS

Defendant’s plea of guilty to the lesser-included offense of Count One of the Indictment. Defendant

is hereby adjudged guilty of conspiracy to possess with intent to distribute heroin.

               IT IS SO ORDERED.


                                                      /s/ George C. Smith
                                                      GEORGE C. SMITH, JUDGE
                                                      UNITED STATES DISTRICT COURT




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